Case 1:25-cv-05201-JAV   Document 51-1   Filed 07/17/25   Page 1 of 2




                         EXHIBIT A
  Buy                     Rent                             Sell                 Get a mortgage                                            Find an Agent
                                                                                                                                                                                                                                                                                                                                                                                                          Case 1:25-cv-05201-JAV
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Zillow
                                                                                                                                                                                                                                                                                                                                                                                                                                                         Document 51-1     Filed 07/17/25      Page 2 of 2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Manage Rentals               Advertise                         Help            Sign In


       Address, neighborhood, city, ZIP                                                                                                                                                                                                                         Q                    For       Sale         N/                              Price        ‘.1                                       Beds      &       Baths     N.,               Home          Type   Ne       More     ‘.1         Save       search


                          9, .,$) 'Lou 4M
                                                                      30 TOU          ta 1.13M       les                                                                                                                                                        Cr
                               445K A 3DTOUR.                        93OK                                                                                                                                                                                                                                                                                                                                                                   2.70M       3D TOUR
                                                                                                                                                                                                                                                                                                                                                                   C


                                 2.08M
                                                 818K
                                                                                                                                                                                             1.30M
                                                                                                                                                                                                  3D TOUR
                                                                                                                                                                                                                      3.28M
                                                                                                                                                                                                                                249K
                                                                                                                                                                                                                                                                to
                                                                                                                                                                                                                                                                                                                                                          Center                                                                             3D TOUR
                                                                                                                                                                                                                                                                                                                                                                                                                                                       7.00M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Schools                     Draw
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Real Estate & Homes For Sale
                      New                                                                                                                                                                         +
                                                                                                                                                                                                  a       660K •                                                rn                                                                                      for Urban                                                    4.00M
                                                                                                                                                                                                                                                                                                                                                                                                                             q0M        2.25M




                                                                                                                                  N any
                                                                         3D TOUR
                                                                                             2 32M
                                                                                                                                                                      Al Available
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      197 results                                                                                                        Sort: Homes for You \./
          1.45M VI
                                                                         400K •                 800K                                                                                                  50M 628K
                                                                                                                                                                                                                                                                                                                                                       Horticulture
                                                                                                                                                                                    3D TOUR
                                                                                                                                                                                  1.04m A                                                                                                                                                                                                                                                                                                                                                                                                 —
         3D TOUR          is)                                        819K
                                                                                                       a       745K                                                                                                                                                                                                                                                                                                                                                                                                                                                     Price cut: $15,000 (7/8) ,                                            Price cut $4,900 (7/11)
       835K jK                  2 units                                                                                                                                                                           $                                                                                                                                                                                                                                                                                                                                                                                                                                         rt.
                                                                           CD                                                                           2.10M                                                                                                                                                                                                                                                                                                                                                                                                           nifi                 1-
                                    t        1.25M
                                                                     725K 38M
                                                                                                     3D TOUR                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      L
                                                                                                                                                                                                                                                                UNIVERSITY                        OF
                                                                                                   789K
                                                                     748K                                                                                                                                                       3D TOUR                           WASHINGTON
                                                                                                                                                                                                       3.70M
                                                                10.7 as -- `)K                                                                                       3 units                 2.69M 375K •
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                                                                     750K
                                                                            i .05M                                                                                                                        1.75M
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D TOUR
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K H
          +a 880K
                      855K
                                                                                          3D TOUR
                                                                                         260K
                                                                                                     3D TOUR
                                                                                                                            570K

                                                                                                                            449K
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                                                                                                                                                                                               449K
                                                                                                                                                                                        3D TOUR A I DA                                                                                                                                                                                                                                                                                                                                                                                                                           Pt Hi                                                                                    4441
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                                                                                                                                               pi 2 units                        3.98M 380K 2 -OOM                                             1.60M
  • NNE                                                             14.9M
                                                                          . /OM
                                                                                                                                 Gas Works                                           4.
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                                                                                                                                                                                        575K
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TOUR                         3D TOUR                                 3D TOUR                                                       Park                              S        2 units
                            1.08M                                   749K
                      3D TOUR                                                  759K 175K                                                                             4.30M              SHOWCASE
                                                                                                                                                                                                                                                                  520
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        29.0M ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        I 25.c0.11
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       $599,900                                                     000
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 30K             1.45M                                                              U /38K                                                                                        te 1.50M                    '
                                                                                                                                                                                                                                   3D TOUR
3D TOU                                                                          0                                                                                                 2.90M          a im             M          1.42M
                                                                                                                                                                                                                           VANso,
                                                                                                                                                                                                                                                                                                                               3D TOUR
                                                                                                                                                                                                                                                                                                                                                                                                     4.25M
                                                                                                                                                                                                                                                                                                                                                                                                          3D TOUR
                                                                                                                                                                                                                                                                                                                                                                                                                      tits
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   3D TOUR                             2 bds 2 ba               1,229 sqft - Active                         2 bds 2 ba           1,050 sqft - Active
  M                                                                                                                                                           2.35M .
                                                                                                                                                                                                                                                                                                                         1.75M                                                                                          3D TOUR                                                                                                5.00M
                                                                                                         .,                                                                         7 1K                              850K
                                                                                                                                                                                                                                                                                                                                                                                                                      875K        3D TOUR                                                                                                                              2713 E Yesler Way #B, Seattle, WA 98122                              109 22nd Avenue E #C, Seattle, WA 98112
                                                                                              ,45K                                                          re 7 eenitc                                                                                                                                                                                                                                                                                                                                                  ti    27.8M
                                                                                                                                                                                              LAKE                                                                                                                                                                                                                            1.10M                                                                                                                                    Listing provided by NWMLS                                            Listing provided by NWMLS
TOUR                                                                                440K                                                                    'a 4.00M -                                                                                                                            MONTLAKE                                                                                                                                                                                                                            3D TOUR
                                                                                                                                                                                                                                            1.80M ,75K                550K
                                                                                                                                                            -    —   450K                             09M lM                                                                                                                                                                                                                                                                                                                                     10.7M
                                                                EAST QUEEN
                                                                        3D                                                                                                                                                                                                                                  CD                                                                                                                                                                                                                     3.32M
                                        Boston St                                                                  3D TOUR                                                                                                                          1
                                                                                                                                                              500K                      L 700K '61 399K 2.°5M                                   •                                                       2.10M                                                                                                         2.70M
                                                                                       7-r1.331+45 444K                                                                                       . jn
  ID                                                                                                                                                                                    Swn                                                               2.20M                                                         Washington                                      11.0M                                                                                                                                                                                                                                                                 Open:Sun liam-lpm (7/20)
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                                                                                     D TOUR
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                                                                                                     3D TOU
                                                                                                                                                                          5       2 units
                                                                                                                                                                                                  565K                                                                                                                     Park                                                                                                                                                                                                                  eip
                                                                     550K
                                                                                  2 units                      365K
                                                                                                                                                                                                                                                                           Interlaken                              800K  rboretum                                                                                                                                                                                                6.78M cirl      2.69M
                                                                                                                                                                                                                           <                                                  Park                          JO T                                                                                                 .       r eaDrim
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            3D TOUI
                                                                                 111.115         "285K                                                                                                                                                                                                                                                                                  MADISON                                                                                                                                        4.20M             4.20M
                                                                                                                                                                                                                                                                                                                                                                                                                      1.20M
                                                                                                                                                                                                                                                                                                       2 1.75M                                                                                                                                                                                                                                                           .1
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                      1.90a 1.48M)
        30 TOUR                                                                315K               2 units                                                                                                                                                                                                                                                                                                                   J.20M
                                                                                                                                                                                                                           5.85M
                                                                               2 units                                                                                                                    700K '                                                                                                                                                                                                                                                                                                                                                         *AM                •
                                    -                 30                                                                                                                                                               ervatory                                   3D TOUR
                                                                                                                                                                                                                                                                                     550K
                                                                                                                                                                                                                                                                                                                                                                                                   3.00M                                                                                                                      12.CCD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         NE 24th St
                 42.5K
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                                           '""     (
                                                        ••
                                                     3 units
                                                                r
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                                                                                775K
                                                                                     .._. ...
                                                                                                                                                                                                                           Volunteer Par
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                                                                                                                                                                                                                                                                                                                         ZOOM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              8.98M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    3.50M                                                                                        (
          1.98M                     3D TOUR 1.75M a ' .

        8.40M 6.00M                                                  3D TOUR 50K 3D TOUR
                                                                                      TOUR
                                                                                                                                                                                                                        1.09M
                                                                                                                                                                                                                      57.5K
                                                                                                                                                                                                                                                                                                                                   Seattle
                                                                                                                                                                                                                                                                                                                                  Japanese
                                                                                                                                                                                                                                                                                                                                                                   850K
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   3.50M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           SIMMS fi
                                                                2.85M                 349 30 TOUR                                                                                  0 2 units                                                                                             STEVE              S                                                                                       5.50M                                                                                                                                                                                             •   •   •    •   •                                                  •
                                                                                                                                                                                    •
       3D TOUR
                  •       1.70M                      3.20M MA M gt       — 375K                                  Lake                                                                                                                                                                                       3D TOUR                Garden                               2.50M
                                                                                                                                                                                                                                                                                                                                                                                           TON
                                                                                                                                                                                                                                                                                                                                                                                                              >
                                                                                                                                                                                                                                                                                                                                                                                                             cm
  445K                                                               SHOWCASE                                 Union Park                                                                                                                                                                               1.7E 1.19M

13M 5K
                                 799K
                                                     .0.
                                                         a_._ ' +.
                                                                   • 915K
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                                                                                                                                                                                                                                         ern
                                                                                                                                                                                                                                         2 units
                                                                                                                                                                                                                                                         1.80M
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                                                                                                                                                                                                                                                                                                      3.85M                                TOUR                    ''.10M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       $495,000                                                     000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            $689,000                                                                              000

                                                     oy                                                                                                                                                                                                                                                                 1.38M                         3D TOUR                                       4'               17.0M                                                                                                       7.89M
   K units
                                                                                                                                                                              Ir                                                                                                                                             ,w     unit                                           3D TOUR
                       3D TOUR                   ercer
                                                                               3 units
                                                                                                Mercer St
                                                                                                                            SOUTHAttAKE                                                 3D TOURler  899K ✓-
                                                                                                                                                                                                                                                                                                                                            30 TOUR
                                                                                                                                                                                                                                                                                                                                                                                                    +.70M                                                                                                              13.0M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I .                   3 bds 1 ba               958 sqft - Active                           2 bds 2 ba           1,210 sqft - Active
FOUR                                                                                                                          UNION                                       cm - ••-:.. .--,..,   • 8OOK                                                                                                                        1 40N 635K                                    3 -f 13.0M
                 S units                                                                                                                                                                                  SHOWCASE                                                                                                                                    .3
                                                                                                                                                                                                                                                                                                                                                       3M
                                                                                                                                                                                                                                                                                                                                                        9M                                                                                                                                                                                      5.40M
         R                                                                 an                                                                                                 S    3 units  units     - +. 2.20m a - —a,
                                                                                                                                                                                                                        65M 3K                                                               30 TOU
                                                                                                                                                                                                                                                                                                       1.25M                   •   • ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       1600 E Yesler Way #102, Seattle, WA 98122                            2610 E Yesler Way #A, Seattle, WA 98122
                                                                                                                                                                                                                                                                                                                                                                            2.40M                                                                                                                                                             4.38M
                                                                                                                                                                                     w l
                                                                                                                                                                                  55.a       3 un i 9234/ ..*                                                                                                                                   EY
                                                                                                           >                                                                                                             1.75M                                                  V. 1M6M                 875K
                                                                                                           <           03                                                                    -      •334.1  d95K     La
                                                                                                                                                                                                                                                                                1.88M
                                                                                                                                                                                                                                                                                                                         775K                                                                                                                                                                                                                                          Listing provided by NWMLS                                            Listing provided by NWMLS
                                                                                                                                                                                   • 365K '                                                                                                            1.4-)M
                                                                                                           •           r                       CASCADE                                         n                  it,
                                                                           z                               Z                                                                                                      gni 651--
                                                                                                                                                                                                             z. i um
                                                                                                                                                                                                                           1M                                                                                                  275K                                                         Denny                                                                                                                                  21 9.28M
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            NE 12th St
                                                                                                                       •                                                      5,                 pi   3 units a                2 units                                E Thoma                30 TOUR                         90"  1 7M                                                 BI ine P
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              7.80M oum
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         tO   P OO   L.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Price cut: $15,000 mep)
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                                                                                                                                                                                   wccv                                             ...,OM                                                             1 COW                                                                                                                                                                                                                                                                                                                                  Corner unit townhome
                  Cr79-01; 1 r "                                                                                       z                                                                                                                                                                940K
                                                                                                                                                                                                                                                                                                                               970K
                                                                                                                                                                                                                                                                                                                                                                                        3D TOUR           5.20M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              5.25M
                                                                                                                                                                                                                                                                                                      3D TOUR
             i   5E           t " 289K 3                                 Ca          0. 2 units ,                  .                                                  -1114
                                                                                                                                                                          / 415K                                                   653K 113                                                                                                                                                                                                                                                                                                                                                                                                                       pro
                                                                                                                                                                   275K 0 T 3D TOUR                                                                                CD_                       695K                                                                                  1.23M                                                                                                                                                                                                                                                   h\Ic
                                                                                                                   rifts
                                                                                                                   OWCASE
                 5        -     5        D ii SHOWCASE                   A ) 14 New Hor              0     3 units       ,.                              947K    7856
                                                                                                                                                                                                                               0         2 units
                                                                                                                                                                                                                                                               2.20M ci                65OK \av                                                                                    - •  "          I Par .       At
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       10.81 5
                              3 - ri- ++. 6units-                         ii    6 units                                                                                451615K
                                                                                                                                                                            615K                                                                                                                              56. 875K
                                                                                                                            kA 5 units                  0 11 units                                                     I Ander                                   ti        1.08M        .
                                                                                                                                                                                                                                                                                                                                                                                                          2.85M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   3.20M
                      0         "        -                  Iblar n " ^               PI 10 units
                                         Pi 6 units , ;nits                                                                                                                             Ct                               P 532K                           " — les sits                  +A SHOWCASE
                                                                                                                                                                                                                                                                                                                                  655K                                                                    2.45M
           SCulptu
                                                                                     p
                                                                                                                                      6 units
                                                                                                                                                                                             0 3 units                                                                                                                             •
                                                                                                                                                                                                                                                                                                                                                     799K.2                                                                                                                                                          medma P alp
                                                                                                                            Pi
                                                 "                                                                                                                                                                                                       679K                           It? 1.45M 1
                                                       — in S units                             Pi 2 units                                                                                                                         3D TOUR
                                             0 5 units ...x......11I'' D TOUR                                                                                                           394K
                                                                                                                                                                                                                                                                                        3D
                                                                                                                                                                                                                                                                                                      uu                                           679K
                                                                                                                                                                                                                                                                                                                                                                                        Cii2.15M
                                                                                                                                                   SHOWCASE                                                                     395K .                                                                                       3D TOUR
                                                           t.        0     2 units         - •                                                                                                                                  „„  units SHOWCASE                                           3D TOUR
                                                                                                                                                                                                      835K
                                                                                         PI 4 I Pria'r 7 SHOWCASE                         10 units                            Pi 2 unit                                                                                         +a     860K 799K                         995K                                                          3.20M
                                                                                         3D TOU +4$ 10 units                                                                                                                                        30 TOUR                                                                                                            ••                                                                                                                                                                                                                                                                                                  As.
                                                                                                                                                                                    2 units
                                                                                                                                                                                                                                                                                                                                                                             tap
                                                                                0 4 units ,nits                                  'S                              H        3 units     _    _ads
                                                                                                                                                                                                                                   Al 2r 590K !""fsP• CV
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                                                                                                                                                                                                                                                                                                                 995K
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                                                                                                                                                                                                                                                                                                                                                                       2 units ,
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                                                                                                                                                                                                                                            .-                                                                                                                                                                                                                                                                                                                                                                                                         •                  •      •   •    •     •
                                                                                                               0 TOUR                                                             31.                                                           1.07M aA
                                                                                     PI 3 units
                                                                                                               .                 2 units
                                                                                                                                                                                 898.    3 units      0                                                                                               1fr
                                                                                                                                                                                                                                                                                                            750K
                                                                                                                                                                                                                                                                                                                        N4
                                                                                                                                                                                  3D TOUR .) units                                                           900K                                                                          C,                                           Madrona Park
                                                                                     615K ID
                                                                                         •
                                                                                                       2 •55M "Tr%
                                                                                                     El 5 units ar                                               0    2 units
                                                                                                                                                                                                                                                          3D TO
                                                                                                                                                                                                                                                                                                                              3D TOUR                                                                                                                                                                                                                                  $590,000                                                     000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            $640,000                                                                              000

                                                                                                                                                                                                                                                               'Li 1.08M                                           C         690K           DISTR
                                                                                                                                                                                                                                                                                                                                                          3D TOUR
                                                                                                                                                                                                                                                        2.88M buy,.     ri                     2 units
                                                                                                  625K         'nitc                                                                                                                                                                                                C e                                                                                                                                                                                                                                                2 bds        ba          829 sqft - Active                           2 bds 3 ba           1,310 sqft - Active
                                                                                                                                                                                             3D TOUR                                                                                           3D TOUR M                                               2.04M                                          OUR                                                                                                                                                                       2
                                                                                                     a 3 units                                                                                                                                                                                                                                                                             750K
                                                                                                                                                             ottla                 10un 3D TOUR                                                                                               849K                                1.30M
                                                                                                                                               k659K .3                                 2 . 300K                                   no
                                                                                                                                                                                                                                                                                                                                                                         30 TOU                                                                                                                                                                                        1116 13th Avenue #D, Seattle, WA 98122                               162 B 15th Avenue, Seattle, WA 98122
                                                                                                                                                                                                                                                                                                      830K                                                             3.50M .50 1.90M
                                                                                                                        525K                        •                                                                              SHOWCASE units                                                                                                                                                                                                                                                                                                                      _?sting provided by NWMLS                                            Listing provided by NWMLS
                                                                                                                                                                                                                                                                      'a       849K
                                                                                                                                      units                                                                                                                                                                  3D TOUR
                                                                                                               1.40M
                                                                                                                                                        LE                                                             ++. 7 units
                                                                                                                                                                                                                                                                  Rrin 3D TOUR                              799K
                                                                                                                                                                                                                                                                                   9tru.,

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             C2
                                                                                                                                                                                                                                                             64OK              74,6K
                                                                                                                                                                                                                                                                          323D TOUR ir    12 1 05M                                                                                                                                                                                                                                                                                                                                            Spectacular views
                                                                                                                                                                                                                                                         I._    1.20M 51OK 735K lE 1 28i      '
                                                                                                                                                                                                                                          F Yt.sler                                               lf ap                                                SCHI
                                                                                                                                                                              0    5 units                                                                     400K
                                                                                                                                                                                                                                                                                                                                           .438K                                                                                                                                                                                                                                                                                     .04
                                                                                                                                                                      a           5 units
                                                                                                                                                                                                                                                                                               camp                            800K
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              11


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           -       .                                                          -
                                                                                                                                                                                                                                   CZ)
                                                                                                                                                                                             SEAT
                                                                                                                                                                                                                  0 4 units                                    S Jackson St
                                                                                                                                                                                                                                                                                             486K
                                                                                                                                       1.40M                                                                                                                                                                                                       2.60M
                                                                                                                                                            CHINAT                              NTERN •                            3.79M                                                30 TOUR
                                                                                                                                                                                        340K                                                                                                                                                                                           375K
                                                                                                                                                                                                          :       NEW                                                      30 TOUR 05K                                                                             '3g141           • is, .12101


                                                                                                                                                        30 TOU                               g    3 units                                                              900K                                                       699K                    125M
                                                                                                                                          •                 I.                                                                                                                                                                                                         D TOUR 659K
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             n OM                                                                                                                                                                                  +
                                                                                                                                                                                                                                                                  0 4 units                                                       845K        70M             2 ram
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         29.0M
                                                                                                                                                                                                                                                                                                                        999K               Lora%               ciz,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 •   •    •    •
                                                                                                                                       99                                                                                                           685K ;
                                                                                                                                                                                                                                                                           a    539K                                               'a 2 unit e 1.20M                               a                                                                                                                       ROAN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        6.40M
                                                                                                                                                                                                                                                                                                                                                     OUR                                                                                                                                                               +21 7.25M
                                                                                                                                                                                                                                                                                                                                       630K 830K
                                                                                                                                                                                                                                                                                        'a     895K
                                                                                                                                                                                                                                                                                                                                                1.00Ma   M
                                                                                                                                                                                                                                                                                                                                                                                    3.20M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      _ssafi                cAy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             a_ Zi   gyip t.z:                                         $800,000                                                     000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            $749,950                                                                              000
                                                                                                                                                                                                                                                                                                                                                  VI 1.10M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           DaVIS Park
                                                                                                                                                                                                                               02u          nits     c"--:-,,K
                                                                                                                                                                                                                                                    3D TOUR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1.30M                           3.00M                 3 bds I 2 ba             1,620 sqft - Active                         6 bds 3 ba           2,200 sqft - Active
                                                                                                                                                                     r.4>                                                                 fir                           3D TOUR
                                                                                                                                                                                                                                                                       Taw
                                                                                                                            99                                       a    le,                                              'Pt            62 1.60M                                                                                                                 1.50M
                                                                                                                                                                                                                                                                                                                                                                                                                                                        90                                                                                                             1814 25th Avenue E, Seattle, WA 98112                                607 38th Avenue, Seattle, WA 98122
                                                                                                                                                                                                                            R      2 units          7 580K                                                                                               cn                            3D TOUR                                                                                                      s)p"        SE 24th St
                                                                                                                                                                                                                                                                           635K                                         1.50M
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         4.00M                                                                         Listing provided by NWMLS                                            Listing provided by NWMLS
                                                                                                                                                                                                                                               I,L, 449K                                30 TOUR                                                                                    2.30M
                                                                                                                                                                     rn                                               rn                                                                                                                                                                                                                                                                            45                                                  TOUR
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                                                                                                                                                                                                                                   cg007,
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                                                                                                                                                                                                                                                                                                            Vi 450K
                                                                                                                                                                     S Holgate St
                                                                                                                                                                                                                                                               3D TOUR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Private parking pad               NM INN                              Guest quarters            :400_                 tr ie ,
                                                                                                                                                                                                                                                    1                                                                                                                                                                                                                                                                                     CD
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                                                                                                                                              N.                          co                                                             30 TOUR                               1.08M         Co                                                                                                                                                                                                                               Map
                                                                                                                                                                                                                                                                                                      460K 800K                                                                                                                                                                                            SHOWCASE
                                                                                                                                                                                                                                    870K .                                                                                                                                                                                                                                                                                                                                                                                                                                                     •

                                                                                         3                                                    ID
